  Case 5:22-cv-00185-H Document 84 Filed 08/29/22               Page 1 of 2 PageID 1109



                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                               LUBBOCKDTVISION

STATE OF TEXAS, et a1.,

        Plaintiffs,

                                                              No. 5:22-CV-185-H

XAVIERBECERRA, Secretary of Heaith
and Human Services, et al.,

        Defendants

                                           ORDER

       On August 23, 2022, the Court granted the plaintiffs' motion for preliminary

injunction (Dkt. No. 22) and dentedthe defendants' motion to dismiss (Dkt. No. 38). Dkt.

No. 73. Given that the Court received extensive briefing, evidence, and oral argument

during the preliminary-injunction ploceedings, the Court orders the parties to flle a joint

status report by no later than September 9,2022. The parties must inform the Court how

they propose to proceed and the requested timeline for doing so.

       The parties should inform the Court:

            Whether either side needs discovery, and if so, the types of discovery sought and
            the timeline for obtainiag it;

            Whether either side plans to introduce additional evidence for the Court's
            consideration in analyzing the appropdateness and scope ofthe plaintiffs'
            requested permanent injunction;

        a   If additional evidence will be offered, whether the parties will   agree to a bench
            trial for taking evidence and hearing argument;


            Whether the parties prefer to proceed on summary-judgment briefing and, if so,
            whether the parties will continue to stipulate to the admissibility of witness
            declarations and affidavits;
  Case 5:22-cv-00185-H Document 84 Filed 08/29/22               Page 2 of 2 PageID 1110



            Whether the parties are willing and able to submit an agreed stipulation of facts;
            and

        .   Whether the parties have any other proposals regarding scheduling and
            discovery that they believe will facilitate the expeditious and orderly disposition
            of this case.

To the extent the parties disagree on any of these matters, the joint report should explain

each side's proposal. Following the joint stafus report, the Court   will issue an appropriate

scheduling order.

       so ordered   onlugort?l ,zozz.

                                                                0J.
                                                J       WESLEYHENDRIX
                                                UN      D STATES DISTRICT JUDGE




                                              -2
